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NOTICE OF APPEARANCE IN A CRIMINAL CASE


                                   CLERK'S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                         Criminal Number 1:21-mj-216


ADAM HONEYCUTT
      (Defendant)




TO:     ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:               (Please check one)


 □      CJA                 [!:)   RETAINED          □      FEDERAL PUBLIC DEFENDER


                                           /s/ Ira D. Karmelin
                                                                 (Signature)



                                           PLEASE PRINT THE FOLLOWING INFORMATION:

                                          Ira D. Karmelin, Bar No.: 43889
                                                         (Attorney & Bar ID Number)

                                          Ira D. Karmelin, Attorney and Counselor at Law
                                                                 (Finn Name)

                                          3897 N. Haverhill Rd. Suite 127
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                                          561-683-6141
                                                            (telephone Number)
